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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  PHARMACYCLICS LLC and                       )
  JANSSEN BIOTECH, INC.,                      )
                                              )
                      Plaintiffs,             )
                                              )
               v.                             ) C.A. No. 18-192 (CFC) (CJB)
                                              ) CONSOLIDATED
  CIPLA LIMITED, et al.,                      )
                                              )
                      Defendants.             )
  PHARMACYCLICS LLC and                       )
  JANSSEN BIOTECH, INC.,                      )
                                              )
                      Plaintiffs,             )
                                              )
                                                C.A. No. 19-434 (CFC) (CJB)
               v.                             )
                                              )
  ALVOGEN PINE BROOK LLC and                  )
  NATCO PHARMA LTD.,                          )
                                              )
                      Defendants.             )

                       NOTICE OF WITHDRAWAL OF COUNSEL

        PLEASE TAKE NOTICE that the appearance of Anna Q. Han of COVINGTON &

  BURLING LLP as counsel for plaintiff Pharmacyclics LLC is hereby withdrawn. Pharmacyclics

  LLC will continue to be represented by the firms of MORRIS, NICHOLS, ARSHT & TUNNELL LLP

  and COVINGTON & BURLING LLP.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 15, 2021, I caused the foregoing to be electronically

  filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

  registered participants.

         I further certify that I caused copies of the foregoing document to be served on February

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